SNe) Seana is Sees

 

a Complete items 1, 2, and 3.

@ Print your name and address on the reverse
so that we can return the card to you.

Roan a Sono Lu Ce

 

A Signature

yo Cl Addressee

CI Agent

 

@ Attach this card to the back of the malipiece,
or on the front if space permits.

B. Spal punted Name) " PE gf Ng

 

 

1. Article Addressed to:

 

D. Is delivery address different from item 1? (1 Yes

 

Ki / If YES, enter delivery address below: ([] No
inO z
9903 Country Scere Lane \
LM _Mentor, ¢ Ohio 44060 3
0 8 Se neatommy Hebe a
9590 9402 4203 8121 4814 95 0 Certified Mall Restricted Delivery Receipt for
© Collect on Delivery Merchandise

 

 

2, Article Number (Transfer from sarvira lahal oO

7028 0040 o000 7903 cla

Collact on Delivery Restricted Delivery 5 Signature Confirmation™
Gi Signature Confirmation

Aall
il Restricted Delivery Restricted Delivery

 

PS Form 3811, July 2015 PSN 7530-02-000-9053

 

J P= 0 23 Domestic Return Receipt
SPR es

‘merenmigy | H

9590 9402 4203 Alel 4aL4 45

United States
Postal Service

   

 

 

 

 

 

 

 

 

 

 

 

 

|, First-Class Mail

Postage & Fees Paid
USPS
Permit No. G-10

 

Northern District of Ohio
Eastern Division
801 W Superior Avenue
Cleveland, OH 44113

 

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